Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 1 of 49

Production of Documents Page
from Subpoena Issued to Melody Noble Nelson
_ 06/25/0088. EOS 8 Good SBE *Hodihenttor-T Ese SHC ND/OK on 06/30/09 Page 2 of AY?/°2?

B. PRODUCTION OF DOCUMENTS

In Brian Shern's written statement dated September 15, 2005, he states
dn interview took place with Eddy Patterson on May 6, 2004, between Agent Tim
Arsenault and Patterson. Tim Arsenaults Memorandum states that Doug Harn met
with him and Eddy Paterson on May 4, 2004. In a Rule 35(ib) Motion (sealed) you
informed the Court that Judy Patterson provided

In this interview, Judith Patterson provided timely. truthful and

complete information concerning an on-going investigation

concerming Oscar Stilley and Lindsey Springer. Judith Patterson
provided specific and detailed information concerning meetings
between herself, Eddy Patterson, Oscar Stilley and Lindsey Springer.

Judith Patterson provided specific information that confirmed financial

payments by the Paticrsons' to Stilley and Springer.

1. Please bring with you any documents which you generated, shared with
or made available to, Bian Shern, of anyone else working for the United States, prior
to September 16, 2005 regarding any “on-going investigation” concerning Oscar
Stiley and Lindsey Springer.

2. Please bring with you any other document you may have wriiten that
expresses any opinion you had regarding the character and receipt of money by

Lindsey K, Springer or Bondage Breaker's Minisiry between the year 1994 fill the

present, or as of July 2, 2009.

JUNE 17, 2009
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 3 of 49
AO 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma
- United States of America ‘
¥. )
J Case No. 09-CR-043-SPF
LINDSEY KENT SPRINGER )
Defendant }

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL EIN A CRIMINAL CASE

To: DOUGLAS HORN
1200 West Okmulgee
Muskogee, Oklahoma
918-684-5100

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court, Northern | Courtroom No.; #4

District Oklahoma, 333 West 4" Street, ——
Tulsa Oklahoma 74103 Date and Time: = UY 2, 2009 9:00 AM.

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):

See Exhibit A

co Phil
Date: JUNE 19 2009 Lombardi, Clerix

CLERK OF Vy 4

Signature oe Clerk or Deputy Clerk

The name, address, e-mail, and telephone number of the attorney representing (name of party) Lindsey K. Springer

, who requests this subpoena, are:

Lindsey K.. Springer
5147 S. Harvard # 116 Tulsa, Oklahoma 74135

lindsey@mindspring.com
§18-955-8225/748-5539

Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 4 of 49
AO 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No.

PROOF OF SERVICE

This subpoena for (name of individual and title, if any)

was received by me on (date)

C) I personally served the subpoena on the individual at (piace)

on (date) sor

© 1 teft the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , atid mailed a copy to the individual’s last known address; or

I served the subpoena on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3; Or
I returned the subpoena unexecuted because 3 or

[} Other (specifi):

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ $ 40.00 witness $ 27.50
miles .
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and iitle

Server's address

Additional information regarding attempted service, etc:
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4200 W Okmulgee St 333 W 4th St
Muskogee, OK 74401 548 Tulsa, OK 74100-2059

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TULSA tPortians toll).
4: MUSKOGEE TURNPIKE W becomes OK-61 W. 18.0 mi
4 5: Take the #17H ST exit toward HOUSTON AVE. 0.1 mi
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» 7: Fur RIGHT onto WARD ST 6. O41 mi
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te * & FRISCO AVE becomes WATH STS. OAM
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Alf rights reserved. Wes subject to Linney Gopyright Map Legend
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Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 6 of 49

EXHIBIT “A” D. Horn
A. DEFINITIONS
1. The word “document(s}” includes all “writings,” “recordings,” and
“photographs,” as those terms are defined in Rule 1001 of the Federal Rules of
Evidence, and should be construedin the broadest sense permissible. Accordingly,
“docu ment(s)"includes, butis nof limited to, ail written, printed, recorded or gra phic
matter, photographic matter, sound reproductions, or other retrievable data
‘whether recorded, taped, or coded electrostatically, electromagnetically,
optically or otherwise on hard drive, diskette, compact disk, primary or backup
fape, audio tape or video tape} from whatever source derived and however and
by whomever prepared, produced, reproduced, disseminated or made, Without
limiting the generality of the foregoing, “document(s)” includes the original and any
non-identical copy and also every draft and proposed draft of al comespondence,
infernal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telephone conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, speeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings or documentary
materials of any nature whatsoever, whether or not divuiged to other parties,
together with any attachments thereto and enclosures therewith. In addition, the
word “Document(s}” encompasses all forms and manifestations of electronically

or optically coded, stored, and/or retrievable information, including but not limited
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 7 of 49

to “email,” “voice mail,” digital images and graphics, digital or analog audiotapes
and files, and digital or analog videotapes and files.

2, The words “you,” “your” or “Plaintiffs” refer to Plaintiffs, and their agenis,
representatives, attorneys, experts, and all other persons acting or purporting to act
on behalf of Plaintiffs.

3. The singular of each word shall be construed to include its plural and vice
versa, and the root word and all derivations (i.e., “ing,” “ed," etc.) shall be
construed to include each other.

4. The words “and” as well as “or” shall be construed both conjunciively as
well as disjunctively.

5. The word “each” shall be construed io include “every” and vice versa.

6. The word “any" shall be construed to include “all” and vice versa.

7. The present tense shail be construed to include the past tense and vice
versa.

8. The masculine shall be construed to include the feminine and vice versa.

9. The words “knowledge.” “information,” “possession,” “custody,” and
“control” of a person shall be construed to inciude such person's agenis,
representatives, and attorneys.

10. The word “including” shall have its ordinary meaning and shall mean
“including but not limited to” and shall not indicate limitation to the examples or

items mentioned.
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 8 of 49

B. PRODUCTION OF DOCUMENTS

You told Chief Judge Eagan in a Joint “Agreement and Stipulation” dated
August 30, 2004, that on May 6, 2004, you and “agents of the FBI and IRS”
interviewed Eddy Patterson “concerning the ongoing investigation of Oscar Stilley,
Jerold Barringer and Lindsey Springer.”

1. Please bring with you any documents authored by you or someone
working in your officer, or under your direct or indirect control, that shows prior to
May 6,:2004, you and “agents of the FBI and IRS” were conducting an “ongoing
investigation of Oscar Stilley, Jerold Barringer and Lindsey Springer.”

2. Please bring with you any documents in your control or that you are
aware of that would show when the “ongoing investigation” began referenced by
you to Chief Judge Claire V. Eagan in your “Joint Agreement" dated August 30,
2004, referenced above.

3. Please bring with you any other documents explaining any reason given
by you or to you as to why this “investigation” was instigated or began.

4, Please bring any documents which show Eddy Patterson officially waived
his rights to attorney client privilege regarding Oscar Stilley or Jerold Barringer as of
May 6, 2004.

5. Please bring any documents which show Judith. Patterson officially
waived her rights to attorney client privilege regarding Oscar Stilley or Jerold

Barringer as of May 3, 2004.
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 9 of 49

é. Please bring any documents you faxed or delivered to William Widel on
or before September 1, 2004, regarding the substantial assistance and any dedi
struck between you, your office, the United States, and Eddy or Judy Paiterson.
regarding reduction in sentencing, waiver of right to appeal, fines, restitution, and
regarding any agreement you would not seek further prosecution of either Eddy
Patterson or Judith Patterson involving any crimes you believe they had committed
prior to September 1, 2004.

7. Please bring with you any documents either from you or fo you, from
Donna Meadors or to Donna Meadors, which contain the name Lindsey K. Springer,
Lindsey Springer, Lindsey Kent Springer, Bondage Breaker's Ministries, Bondage
Breaker’s Ministry, Jerold Barringer or Oscar Stilley between the time of 1999 through
July 2, 2009.

JUNE 17, 2009
‘ Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 10 of 49

» AC*89 (Rev, 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

United States of America
v.
Case No. 09-CR-043-SPF

LINDSEY KENT SPRINGER
Defendant

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: DONNA MEADORS
1645 S. 101st East Avenue,
Tulsa, Oklahoma 74128

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court, Northern | Courtroom No.: 44

District Oklahoma, 333 West 4" Street, =
Tulsa Oklahoma 74103 Date and Time: yyy 2, 2009 9:00 AM.

You must also bring with you the following documents, electronically stored information, or objects (blank ifnot
applicable):

See Attached Exhibit A

Date: JUNE 19 2009

CLERK OF COURT#
fh Ly /] JS
re ye Clerk
/

The name, address, e-mail, and telephone number of the attorney representing iff ofparty) Lindsey K. Springer
, who requests this subpoena, are:

Lindsey K.. Springer

5147 S. Harvard # 116 Tulsa, Oklahoma 74135
lindsey@mindspring.com
918-955-8225/748-5539

* Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 11 of 49

» AD 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No.

PROOF OF SERVICE

This subpoena for (name of individual and title, if any)

was received by me on (date)

CI personally served the subpoena on the individual at (place}
on (date) 5 or

© J left the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

] I served the sebpoena on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

t] I returned the subpoena unexecuted because 5 or

Other (specify):

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ 40.00 witness $ 6.10
miles .

$

My fees are $ for travel and $ for services, for a total of $

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
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or map may not print correctly. For best results, try clicking
the Printer-Friandiy button.

1645 $ 101st East Ave 333 W 4th St
Tulsa, OK 74128-4637 Tulsa, GOK 74103-3839

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Total Estimaisd Distance: 10.17 miles
Total Estimated Fual Cost:

= Directions from A to B.

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=). 2: Tum RIGHT onto E 15TH ST 8. 6.2 mi
2: Merge onto I-44 WiOK-66 W, 2.2 mi
4: Take the US-64/0K-51 exit, EXIT 231, toward SAND SPRINGS/BROKEN 0.3 mi
ARROW,

5: Merge onto US-64 WIOK-51+ W toward TULSA, 6.6 mi
4: Take the 11TH ST exii toward HOUSTON AVE. O41 mi
7: Turn RIGHT onto S HOUSTON AVE. , 9.3 mi
&: Turn RIGHT onto Wi 3RD ST S. 0.1 mi
4: Turn SLIGHT RIGHT onto S FRISCO AVE. O.1 mi
10: S FRISCO AVE becomes YW 4TH ST 8. O41 mi

41: End at 333 W 4th St Tulsa, OK 74103-3839

Estimated Time: 13 minutes Estimated Distance: 10.11 miles

Total Estimated Time; 13 minutes Total Estimated Distance: 10.11 miles
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route usability or expeditiousness, You assume all risk of use. MapQuest and Tts suppliers shall not be fable to you for

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* Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 13 of 49

EXHIBIT “A” D. Meadors

A. DEFINITIONS

1. The word “document(s}" includes all “writings,” “recordings,” and
“ohotographs,” as those terms are defined in Rule 1001 of ihe Federal Rules of
Evidence, and should be construed in the broadest sense permissible. Accordingly,
“documeni(s) "includes, butis not limited to, all written, printed, recorded or graphic
matter, photographic matier, sound reproductions, or other retrievable data
(whether recorded, taped, or coded electrostatically, electromagnetically,
optically or otherwise on hard drive, diskette, compact disk, primary or backup
tape, audio tape or video tape} from whatever source derived and however and
by whomever prepared, produced, reproduced, disseminated or made. Without
limiting the generality of the foregoing, “document(s)” includes the original and any
non-identical copy and also every draft and proposed draft of all correspondence,
internal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telephone conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, speeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings or documentary
materials of any nature whatsoever, whether or not divulged to other parties,
together with any attachments thereto and enclosures therewith. in addition, the
word “Document(s)” encompasses all forms and manifestations of electronically

or optically coded, stored, and/or retrievable information, including but not limited
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 14 of 49

to “email,” "voice mail,” digital images and graphics, digital or analog audiotapes
and files, and digital or analog videotapes and files.

2, The words “you,” “your” or “Plaintiffs” refer to Plaintiffs, and their agents,
representatives, attorneys, experts, and all other persons acting or purporting to act
on behaif of Plaintiffs.

3. The singular of each word shall be construed to include its piural and vice
versa, and the root word and all derivations {i.e., “ing,” “ed,” etc.) shall be
construed to include each other.

4, The words “and” as weil as “or” shall be construed both conjunciively as
well as cisjunctively.

5, The word “each” shall be construed to include “every” and vice versa.

6. The word “any” shall be construed to include “all” and vice versa.

7. The present tense shall be construed to include the past tense and vice
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8. The masculine shall be construed to include the feminine and vice versa.

9. The words “knowledge,” “information,” “possession,” “custody,” and
“control” of a person shail be construed to include such person's agents,
representatives, and attorneys.

10. The word “including” shall have its ordinary meaning and shall mean

“including but not limited to” and shall not indicate limitation to the examples or

items mentioned.
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 15 of 49

B. PRODUCTION OF DOCUMENTS

in Brian Shern's written statement dated September 15, 2005, he states an
“investigation was initiated because it was alleged that Springer’s conduct may
have been subject to the penalty provision of Title 26, U.S.C. § 6700 (...} And Title 26,
U.S.C. § 6701.." Mr. Shern also stated that “the civil investigation indicated that
Springer’s conduct did not appear to be subject to the penalty provision of Title 26,
U.S.C. §§ 6700 or 6701 duting 2000 through 2003, however, it did indicate that
Springer received payments from individuals for whom he provided legal or tax
advice.”

1. Please bring with you any documents which you generated, shared with
or made available to, Brian Shern, or anyone else working for the United States, prior
to September 16, 2005 regarding any “on-going investigation” or “6700
investigation” concerning Lindsey K. Springer, where you indicate that “Springer
received payments from individuals for whom he provided legal or tax advice.”

2. Please bring with you any other document you may have written that
expresses any opinion you had regarding the character and receipt of money by
Lindsey K. Springer or Bondage Breaker's Ministry between the year 2000 through
2003.

3. Please bring with you any criminal referral you made in connection with
your investigation under section 6700 of Lindsey K. Springer.

June 17, 2009
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 16 of 49

5444 § 108 East Avenue Tulsa OK 74146
Tel: 1-866-401-9181
1-918-776-7991

_ hud rental equipment
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 17 of 49

AG 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

United States of America
y.

Case No. 09-CR-043-SPF

LINDSEY KENT SPRINGER

Sew we Nee ene

Defendant
SUBPOENA TO TESTIFY AT A HEARING OR TRIAL EN A CRIMINAL CASE

To: BRIAN SHERN
1645 8. 101st East Avenue,
Tulsa, Oklahoma 74128

~ YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case: When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court, Northern | Courtroom No. = 44

District Oklahoma, 333 West 4" Street, Date and Time:
Tulsa Oklahoma 74103 > JULY 2, 2009 9:00 A.M.

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable}:

See Attached Exhibit A

Date: JUNE 19 2009

x
. CLERK OF COURT ®># Lombard, Clerk

il A_
of Clerk ohn Chery

Signat
f

The name, address, e-mail, and telephone number of the attorney representing flame of party) Lindsey K. Springer

, who requests this subpoena, are:

Lindsey K.. Springer

5147 §. Harvard # 116 Tulsa, Oklahoma 74135
lindsey(@mindspring.com
918-955-8225/748-5539

Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 18 of 49

AO 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No.

PROOF OF SERVICE

This subpoena for (name of individual and title, if any)

was received by me on (date)

[4 I personally served the subpoena on the individual at (piace)

Ont (date) > or

(7 I left the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the subpoena on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; or

Ci [returned the subpoena unexecuted because ,or

EY Other (specify):

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ 40.00 witness $ 6.10
miles °

$

My fees are $ for travel and $ ‘for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
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Tutsa, OK 74128-4037 Tulsa, OK 74103-3839
Total Estimated Time: 13 minutes
Tota! Estimated Distance: 10.14 miles
Total Estimated Fuei Cost:
¥ Directions from A to B:
4: Start cut going NORTH on S 104ST EAST AVE toward E STH STS. 4 mi
2: Turn RIGHT onto © 15TH ST 5. 0.2 mi
3: Merge onto 1-44 WiOK-66 W. 2.2 mi
4: Take the US-64/0K-51 exit, EXIT 231, toward SAND SPRINGS/BROKEN 0.3 mi
ARROW.
i eal 5; Merge onto US-64 WIOK-5T W toward TULSA. 6am
eo &: Take the 117H 8ST exit foward HOUSTON AVE. 0.1 mi
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& 8; Tum RIGHT onto W SRD ST Ss. 0.1 mi
& &: Tum SLIGHT RIGHT onto S FRISCO AVE. O.t mi
& 1G: S FRISCO AVE becomes W 4TH ST S. O1 mi
1#: End at 333 W 4th St Tulsa, OF 74704-3839

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route usability or expeditiousness, You assume all tisk of use. MapQuest and its suppliers shall not be liable to you for
any loss or delay resuliing from your use af MapQuest. Your use of MapQuest means you agree to our Tarns oi tise

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Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 20 of 49

EXHIBIT “A” B. Shern

A. DEFINITIONS

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optically or otherwise on hard drive, diskette, compact disk, primary or backup
tape, audio tape or video tape) from whatever source derived and however and
by whomever prepared, produced, reproduced, disseminated or made. Without
limiting the generality of the foregoing, “document(s)” includes the original and any
non-identical copy and also every draft and proposed drafi of all correspondence,
internal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telephone conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, speeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings or documentary
materials of any nature whatsoever, whether or not divulged to other parties,
together with any attachments thereto and enclosures therewith. In addition, the
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Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 21 of 49

to “email,” “voice mail,” digital images and graphics, digital or anaiog audiotapes
and files, and digital or analog videotapes and files.

2. The words “you,” “your” or “Plaintiffs” refer to Plaintiffs, and their agents,
representatives, attorneys, experts, and all other persons acting or purporting fo act
on behalf of Plaintiffs.

3. The singular of each word shall be construed to include its plural and vice
versa, and the root word and all derivations {i.e., “ing,” “ed,” etc.) shall be
construed to include each other.

4, The words “and" as well as “or" shail be construed both conjunctively as
well as disjunctively.

5. The word “each” shail be construed to include “every” and vice versa.

6. The word Many” shall be construed to include “all” and vice versa.

7. The present tense shail be construed to include the past tense and vice
versa.

8. The masculine shall be construed to inciude the feminine and vice versa.

9. The words “knowledge,” “information,” “possession,” “custody,” and
“control” of a person shall be construed fo include such person’s agenis,
representatives, and attorneys.

10. The word “including” shall have its ordinary meaning and shall mean

“including but not limited to” and shail not indicate limitation to the examples or

items mentioned.
- Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 22 of 49

B. PRODUCTION OF DOCUMENTS

You stated “[T]his investigation pertains to allegations that Lindsey Springer
received income for providing legal and tax advice to numerous clients, and that
he knowingly and willfully did not report this income in order to evade the taxes
associated with it.” You also state that “[T}his investigation was initiated because
it was alleged that Springer’s conduct may have been subject to the penalty
provision of Title 26, § 6700...and Title 26, § 6701." You also stated that “however, it
did indicate that Springer received payments from individuals for whom he
provided legal or tax advice.”

1. Please bring with you any documents you reviewed prior fo September
16, 2005, authored by Donna Meadors, or anyone else, containing or involving the
name Lindsey Kent Springer, Lindsey K. Springer, Lindsey Springer, Bondage
Breaker's Ministries, which expiains the allegation Springer’s conduct “may have
been subject to penalty provisions” of either “6700" or “6701.”

2. Please bring with you any documents you reviewed prior to September
146, 2005, which you relied upon to assert your investigation was based upon the
determination Lindsey Springer received “income” for providing “legal” or “fax
advice” to “numerous clienis.”

3. Please bring with you any other documents you reviewed prior io
September 16, 2005, which you relied upon in arriving at your stated determination

“he knowingly and willfully did not report this income in order io evade the taxes
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 23 of 49

associated with if.”

4. Please provide any documents you relied upon in making the
determination “Springerreceived payments from individuals for whom he provided
legal or tax advice.”

5. Please bring with you any training manual you have relied upon, prior fo
September 16, 2005, in making your determinations in your statement dated
September 15, 2005.

JUNE 17, 2009
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 24 of 49
AG 80 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT
for the

Northern District of Oklahoma

United States of America
¥.

Case No. 09-CR-043-SPF

LINDSEY KENT SPRINGER

Nene See” ee eee nee”

Defendant

SUBPOENA TO TESTIFY AT A REARING OR TRIAL IN A CRIMINAL CASE

To: DONALD SHOEMAKE
1645 S. i01st East Avenue,
Tulsa, Oklahoma 74128

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court, Northern | Courtroom No.: 44
District Oklahoma, 333 West 4” Street, Date and Timo
Tulsa Oklahoma 74103 "JULY 2, 2009 9:00 A.M.

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):

See Attached Exhibit A

Phil Lombardi, Gienk

CLERK OF CO “hy law

my bf Clerk 1 l Beputy Clerk

Date: JUNE 19 2009

The name, address, e-mail, and telephone number of the attorney representing inane ofparty) Lindsey K. Springer

___ , who requests this subpoena, are:

Lindsey K.. Springer

5147 S. Harvard # 116 Tulsa, Oklahoma 74135
lindsey@mindsoring.com
918-955-8225/748-5539

VESSE AOS CHODEAS"SPE? DOCUINETT SHE FRG OSDE ND/OR 8h 66/38/88 Page 3F df Aol

Sorry! When printing directly fram the browser your directions
or map may not print coreatiy. For best results, try clicking
the Printer-Friendly butten.

1645 § 101st East Ave 333 W 4th St
Tulsa, OK 74128-4637 Tulsa, OX 74103-3839

Fotai Estimated Time: 13 minutes
Toiai Estimated Distance: 10,14 miles
Total Estimated Fuel Gost:

¥ Directions from A te B:

1: Start out going NORTH on $ 10187 EAST AVE toward E i6TH ST S, 0.4 mi

= 2: Turn RIGHT onto E 15TH ST 8. 0.2 mi

3: Marge ante 1-44 WiOK-66 W. 2.2 mi

4: Take the US-64/OK-51 exit, EXIT 231, toward SAND SPRINGS/BROKEN G3 mi
ARROW.

5: Merge onto US-64 WiOK-51 W toward TULSA. 6.6 mi

6; Take the 14TH ST exit toward HOUSTON AVE, 6.4 mi

7: Turn RIGHT anto S HOUSTON AVE. 0.3 mi

4: Tum RIGHT onto W3RD ST 8. ° G1 mi

3: Tur SLIGHT RIGHT onte & FRISCO AVE. 6.1 mi

10: S FRISCO AVE becomes W 4TH ST S. 0.4 mi

41: End at 333 W 4th St Tulsa, OK 74103-3899

Estimated Time: 13 minutes Estimated Distance: 40.11 miles

Total Estimated Time: 13 minutes Total Estimated Distance: 10.11 miles

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Oirections and maps are informational only, We make no warranties on ihe accuracy of their cantent, road canditions or
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any loss or delay resulting from your use of MapQuest Your use of MapQuest means you agree to our

hitp://www.mapquest.com/maps?1c=Tulsa& 1s=OK & la=1645+5.4+101stt+East+Avenue&2... 6/19/2009
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 26 of 49

EXHIBIT “A” D. Shoemake

A. DEFINITIONS

lI. The word “document{s)” includes all “writings,” “recordings,” and
“ohotographs,” as those terms are defined in Rule 1001 of ihe Federal Rules of
Evidence, and should be construed in the broadest sense permissibie. Accordingly,
“document(s}"includes, butis not limited to, all written, printed, recorded or graphic
matter, photographic matter, sound reproduciions, or other reirievable data
(whether recorded, taped, or coded elecitrostatically, electromagnetically,
optically or otherwise on hard drive, diskette, compact disk, primary or backup
tape, audio tape or video tape) from whatever source derived and however and
by whomever prepared, produced, reproduced, disseminated or made. Without
limiting the generality of the foregoing, “document(s)” includes the original and any
non-identical copy and also every draft and proposed draft of all correspondence,
internal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telephone conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, soeeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings or documentary
materials of any nature whatsoever, whether or not divulged to oiher parties,
together with any attachments thereto and enclosures therewith. In addition, the
word “Document(s)” encompasses all forms and manifestations of electronically

or optically coded, stored, and/orreirieva ble information, including but not limited
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 27 of 49

io “email,” “voice mail,” digital images and graphics, digital or analog audiotapes
and files, and digital or analog videotapes and files.

WY ota

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3. The singular of each word shall be consirued fo include ifs plural and vice

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Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 28 of 49

AQ 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

. Case No.

PROOF OF SERVICE

This subpoena for (name of individual and title, if any)

was received by me on (date)

Fl I personally served the subpoena on the individual at (place)

on. (daie} 5 or

1 I left the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

CO I served the subpoena on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on fdate) ; or

[™ Treturned the subpoena unexecuted because ; Or

Ol Other (specify):

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ 40.00 witness $ 6.10
miles ,

$

My fees are $ for travel and $ for services, for a total of $

_ I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 29 of 49

B. PRODUCTION OF DOCUMENTS

1. Please bring with you any documents which you generated, shared with
or made available to, Brian Shern, or anyone else working for the United States, prior
to September 16, 2005 regarding any “on-going investigation” concerning Lindsey
K. Springer for any years beginning in January, 1994 through September 15, 2005.

2. Please bring with you any Memorandums of Interviews written by you or
anyone working with you in the investigation of Lindsey K. Springer for the same
above fime of January, 1994 through September 15, 2005.

JUNE 17, 2009
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 30 of 49

AO 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma
United States of America )
v. )
) Case No. 09-CR-043-SPF
LINDSEY KENT SPRINGER _ )
Defendant )

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: WILLIAM TAYLOR
1645 S. 101st East Avenue,
Tulsa, Oklahoma 74128

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until! the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court, Northern | Courtroom No.: 44

District Oklahoma, 333 West 4" Street, Date and Time:
Tulsa Oklahoma 74103 ate and time: JULY 2, 2009 9:00 A.M.

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable}:

See Attached Exhibit A

Date! JUNE 19 2009 Pi LOmba n

Vy Lj

Si fare of Clefiybr Deputy Clerk

CLERK OF COU

The name, address, e-mail, and telephone number of the attorney representing (name of party) Lindsey K. Springer
, who requests this subpoena, are:

Lindsey K.. Springer

5147 S. Harvard # 116 Tulsa, Oklahoma 74135
lindsey(#mindspring.com
918-955-8225/748-5539

Driving Pirewicnsbemsleps Wdsthashtss deat USbe NOR ode stlbe Pabeest bf Ao

Sorry] When printing directly from the browser your directors
of map may not print correctly. For best results, by clicking

the Printer-Friendly button.
1645 $ 101st East Ave 333 W 4th St
Tulsa, OK 74128-4637 Tulsa, GK 74103-3839
Total Estimated Time: 13 minutes
Totat Estimated Distance: 10.11 miles
Totat Estimated Fuel Cost:
¥ Directions from A to B:
G2): Start out going NORTH on S 1078T EAGT AVE toward & 167H ST 8. O41 mi
S 2: Tum RIGHT onto E 15TH ST 3. 62 mi
3: Merge onte 1-44 WIOK-B6 WL 2.2 mi
ex] 4: Take the US-G4/OK-51 exit, EXIT 231, toward SAND SPRINGSEROKEN 0.3 mi
ei ARROW,
jute $: Merge ante US-64 WIOK-51 W toward TULSA, 6.6m
cs 6: Take the 117TH ST exct toward HOUSTON AVE. 4 mi
S 7: Tum RIGHT onto S HOUSTON AVE. 0.3 mi
> 8: Tum RIGHT onto W 3RO ST Ss. 0.1 mi
3: Tum SLIGHT RIGHT anto S FRISCO AVE. Ot mi
& 40: S FRISCO AVE becomes W 4TH ST S. O.t mi
MUD 14: End at 333 W 4th St Tulsa, OK 74103-3839

Estimated Time: 13 minutes Estimated Distance: 10.11 miles
Tota! Estimated Time: +3 minutes Total Estimated Distance; 10.11 miles

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Ail rights reserved. Use subject te Licease/Copyright Map Legend

Directlons and maps are informational only. We make no warranties on the accuracy of their content, road conditions cr
Toute usabitty or expeditiousness. You assume al risk of usa. MapQuest and its suppliers shall not ba fiable to you for
any loss or delay cesulting from your use of MapQuest. Your use of MapQuest means you agree to cur Terms of se

http://www.mapquest.com/maps?1c=Tulsa& 1s-OK& 1a=1645+S.+ 10 ist+Eastt+Avenue&2... 6/19/2009
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 32 of 49

AO 89 (Rev. 01/09) Subpocna to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No.

PROOF.OF SERVICE

This subpoena for (name of individual and title, if any)

was received by me on (date)

1 I personally served the subpoena on the individual at (place}

On (date) ; or

(J I left the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[ Iserved the subpoena on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

1 [returned the subpoena unexecuted because ; or

} Other (specify):

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ 40.00 witness $ 6.10
miles :

$

My fees are $ for travel and $ for services, for a total of $

[ declare under penalty of perjury that this information is true.

Date: _

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 33 of 49

EXHIBIT “A” W. Taylor
A. DEFINITIONS

at ak

1. The word “documenit(s)" includes all “writings,” “recordings,” and
“ohotographs,” as those terms are defined in Rule 1001 of the Federal Rules of
Evidence, and should be construed in the broadest sense permissible. Accordingly,
“document{s)"includes, butis not limited fo, all written, printed, recorded or graphic
matter, photographic matter, sound reproductions, or other retrievable data
(whether recorded, taped, or coded electrostatically, electromagnetically,
optically or otherwise on hard drive, diskette, compact disk, primary or backup
tape, audio tape or video tape) from whatever source derived and however and
by whomever prepared, produced, reproduced, disseminated or made. Without
limiting the generality of the foregoing, “document(s)" includes the original and any
non-identical copy and aiso every draft and proposed draft of all comespondence,
internal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telephone conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, speeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings or documentary
materials of any nature whatsoever, whether or not divulged to other parties,
together with any attachments thereto and enclosures therewith. In addition, the

word “Document(s}” encompasses all forms and manifestations of electronically

or optically coded, stored, and/or retrievable information, including but not limited
.. Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 34 of 49

to “email,” “voice mail,” digital images and graphics, digital or analog audiotapes
and files, and digital or analog videotapes and files.

2. The words “you,” “your” or “Plaintiffs” refer to Plaintiffs, and their agents,
representatives, attorneys, experts, and all other persons acting or purporting to act
on behalf of Plaintiffs.

3. The singular of each word shall be construed to include its plural and vice

4

versa, and the root word and all derivations {i.e., “ing,” “ed.” etc.} shall be
construed to include each other.

4. The words “and” as well as “or” shall be consirued both conjunctively as
well as disjunctively.

5. The word “each” shall be construed to include “every” and vice versa.

6. The word “any” shall be construed to include “all” and vice versa.

7. The present tense shall be construed to include the past tense and vice
versa.

8. The masculine shall be construed to include the feminine and vice versa.

9. The words “knowledge,” “information,” “possession,” “custody,” and
“control” of a person shall be construed to include such person's agenis,
representatives, and attorneys.

10. The word “including” shalt have ifs ordinary meaning and shall mean

“including but not limited to" and shall not indicate limitation to the examples or

items mentioned.
_ Case 4:09-cr-00043-SPF Document 94-1 Filed in USDC ND/OK on 06/30/09 Page 35 of 49

B. PRODUCTION OF DOCUMENTS

1. Please bring with you any documents which you generated, shared with
or made available to, Brian Shern, or anyone else working for the United States, prior
to September 16, 2005 regarding any “on-going investigation” concerning Lindsey
K. Springer for any years beginning in January, 1994 through September 15, 2005.

2. Please bring with you any Memorandums of Interviews written by you or
anyone working with you in the investigation of Lindsey K. Springer for the same
above time of January, 1994 through September 15, 2005.

JUNE 17, 2009
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"AD So (Rev. 01/09) Subpoena ta Testify at a Hearing or Trial in a Criminal Case
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UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma
United States of America )
vy )
. 5 Case No, 09-CR-043-SPF
LINDSEY KENT SPRINGER )
Defendant )

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: EDDY PATTERSON

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown

below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court, Northern Courtroom No.: #4
District Oklahoma, 333 West 4" Street, 75505 and Time:
Tulsa Oklahoma 74103 _ _ me: _SULY 2, 2009 9:00 A.M. |

You must also bring with you the following documents, electronically stored information, or objects (blank ifnot
applicable}:

See Exhibit A

Date: JUNE 19 2009

_ CLERK OF COURT,

4

Sig oF Ulghk or Deputy Clerk

The name, address, e-mail, and telephone number of the attorney representing (name ofpary) Lindsey K. Springer
, who requests this subpoena, are:

Lindsey K.. Springer
5147 §. Harvard # 116 Tulsa, Oklahoma 74135
918-95 5-8225/748-5539

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"40 89 (Rev. 01/09) Subpoena to Testify at a Hearing ot Trial in a Crimmal Case (Page 2)

” ‘Case No.
PROOE OF SERVICE

This subpoena for fname of individual and tile, if any)

was received by me on (date)

(J I personally served the subpoena on the individual at (place)

on fdate) .or

(4 1 left the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

O Yserved the subpoena on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) : oT

© I returned the subpoena unexecuted because ; or

C) Other (@pecip).

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also ¢
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ $ 40.00 witness $ 7.20
mites .

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server 'y signature

Printed name and tile

Server ’s address

Additional information regarding attempted service, ete:
Jun £8Sedee-a GQH4s-SPB+ QogemerhSea,FieddatRQC ND/@ksory @G/3948o Page 38 of 4%. 4

Driving Uirections trom 4/1U 50th SE Luisa, UB TO 293 W4U1 D1, 1uIsa, Un rage 1 ut

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of map mary noe PHIL GORTEcHy. Pur iewat remit, try Cem
the Pritt Fibanaly ution.

4716 E gOth St 333 W 4th St
Tuna, OK 74196-8545 Tulsa, OK 74103-3839

Total Estimated Time: 19 minutes
Total Estimated Distance: 12.5@ miles
Total Estimated Fuel Cost:

¥ Directions from 4 to B:

1: Start eat going @QUTHEAST on E 807H BT & foward & YALE AVE 9.2m
ttm LEFT onto S YALE AVE, to rn
> 2: Tum LEFT onie E 716T GT 8. 4.7
ap 4: Merge onta US-F5 0. 5.83
we & Teke budd E foward UBHA4 W054 WIEAND SPRINGEIZOPLIN. o2m
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> $c Turns FIQHT onto W aR STS. 0.1m
& 1%; Tum SLIGHT RIGHT onte @ FRIBSO AVE. , O41 rm
@ ™ & FRISCO AVE becomes WATH S&T S. Qt i
SEE 12: End 01 393 Wt Bt Tulsa, OK 74100-3820

Estimated Time: 1& minules Eathnated Distance: 12.50 miles
Total Estimated Time: 19 minutes Total Estimated Distance; 12.58 miles

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EXHIBIT "A" E. Patterson

A. DEFINITIONS
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(whether recorded, taped, or coded electrostatically, electromagnetically,
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non-identical capy and also every draft and proposed drafi of all correspondence,
internal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telophane conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, speeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings ordocumeniary
materials of any nature whatsoever, whether or not divulged to other parties,
together with any attachments thereio and enclosures therewith. In addition, the
word “Document(s)" encompasses all forms and manifestations of electronically

or optically coded, stored, and/or retrievable information, including but not limited
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to “email,” “voice mail," digital images and graphics, digital or analog audiotapes
and files, and digital or analog videotapes and files.

2. The words “you,” “your” or "Plaintiffs" refer to Plaintiffs, and their agents,
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representatives, and attorneys.

10, The word “including” shall have ifs ordinary meaning and shall mean
“including but not limited to” and shail not indicate limitation to the examples or

items mentioned.
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B. PRODUCTION OF DOCUMENTS

Brian Sher stated that you told Tim Arsenault you paid "Springer this $ 45,000
over the next several months” and the time period was beginning March 1, 2000.

1. Please bring with you any documents, including contracts and canceled
checks, that establish when you hired Attorney Steven Knorr and William Wideil.

2. Please bring with you all proof that you have waived your attorney client
privilege regarding your representation by Oscar Stilley between March 1, 2000 and
May 6, 2004.

3. Please bring with you any promises, in writing or otherwise, made to you
by the United States, directly or indirectly, or hrough your attomeys, Steven Knorr
or Mr, William Widell, between December 15, 2003 and July 2, 2009, which speak
about the sentencing reduction you were to receive in exchange for your
testimony, including any deal you made with the United States involving your wife,
Judith Patterson, and her withdrawal of her appeal to the 10" Circuit Court of

. Appeals in August, 2004.

4, Please bring with you copies of any requests you made to Jerold Barringer
between January 1, 2003 and June 1, 2003, wherein you requested Mr. Barringer
return what remained of any retainer you gave him in or during the year 2000.

5. Please bring copies of all Tax Returns for years 1993 through 2009 filed by
you with ihe Internal Revenve Service related to your earning of income, including

Social Security income.
Jun Base aeey-o: @Gkets-SPEt Hocemenhs41,Filettia thsac ND/Oksory 4@/30289 Page 42 of 4%. 8

6. Please bring any document which could explain to the Court how much
of any fine or restitution you have paid since your conviciion date of December 15,
2003 or your Sentencing Date of September 1, 2004 to the United States or any of

its divisions or branches as you were ordered to do by the Court.

JUNE 17, 2009
Jun £@S@ 4¢@)-er- GGH43-SP5t Goeemenhs41 ,FileddakKeaC ND/@kserr 6@/30H8@0 Page 43 of 4.3

AQ B9 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

United States of America
Vv.

Case No. 09-CR-043-SPF

Sonar” ame? oer! See” eee”

__ LINDSEY KENT SPRINGER
Defendant :

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: JUDITH PATTERSON

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown

below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

e of Appearance: United States District Court, Northern |Courtroom No. 44 .
District Oklahoma, 333 West 4" Street, om - cence
Tulsa Oklahoma 74103 | Date and Time: = JULY 2, 2009 9:00 A.M. |

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):

See Exhibit A

Phil Lombardi, Cloris
Date: JUNE 19 2009

Signature 0 appfierk or Deputy Clerk

The name, address, e-mail, and telephone number of the attorney representing (name of party) _Lindsey K. Springer
__, who requests this subpoena, are:

Lindsey K., Springer

5147 5. Harvard # 116 Tulsa, Oklahoma 74135
lindsey@mindspring.com

91 8-955-8225/748-5539

Jun #8S@deep-er: GQssne-SPEt BogemerhSti,Filedda ARDC ND/@Keor@G/30H8a Page 44 of 4%. 10

AD 89 (Rev. 91/09) Subpoena to Testify at a Heuring of Trial in a Criminal Case (Page 2)
———

Case No.
PROOF OF SERVICE

This subpoena for (name of individual and tile, if any}

was received by me on (date)

C1 I personally served the subpoena on the individual at (piace)

on (date) ; or

CO [left the subpoena at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,
on (date) , and mailed a copy ta the individual’s last known address; or

CO} lserved the subpoena on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date)

 Ireturned the subpoena unexecuted because 3 or

Ol Other: specif):

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, Ihave also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ $ 40.00 witness $ 7.20
miles .

My fees are for travel and 5 for services, for a total of §

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server 's adelress

Additional information regarding attempted service, etc:
_ Jun fase dogp-ar GGh-SPBSt ocwmenhed, FittddatheaC ND/@ksacr7 4@/304@0 Page 45 of 4%.11
‘Driving Directions from 4710 E 80th St, Tulsa, OK to 333 W 4th St, Tulsa, OK Page 1 of 1

Sorry] Pinew pri ntiog direcdly from the browarer your ditectiona
r abby not pein’ comecty, Far kewt pematte, yp clicking
hw Frtenty besttos.

4710 E doth St 333 W 4th &t
Tula, OK 74136-8948 Tulsa, OK 74103-3839

Total Estimated Time: 19 minuies
Total Estimated Distance: 12.59 milea
Total Estimated Fuel Cost

7 Directions from A te 8:

4: Start uxt going SOUTHEAST on E 80TH.ST & toward & YALE AVE, 02m
} 4a: Tum LEFT one 8 YALE AVE. 0.2m
& 3: Tutt LEFT onto E 7187 STS. 4.7 mi
aR 4; Marge eno US-75 N. £5
a & Take [-244 E qoward US-64 WOK51 WWEAND SPRINGEUOPLIN, o2m

5 8; Take the 7TH ST ent, EXIT AC, toward DOWNTOWN. o3am
Be
& 7: rane becomes WY 7TH ST 6, 0.4 md
} 8: Tur LEFT opto 8 HOUSTON AVE. a2m
8: Tun RIGHT ont WY SRD BY ss. 1m
& 10: Tum SLIGHT RIGHT ante S FRISCO AVE. 24m
44: S FRISCO AVE becomes WATH ST 5. 0.1 i
BED 12: End at 923 W 4th Sf Tulea, OK 74108-3828

Estimated Tinse: 44 mi Estimated Dist 12.59 miee

Total Estimated Time: 19 minules Tatal Estimated Distance: 12.69 miles

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http://www-mapquest.com/maps71c=Tulsa& ls=-OK& la=4710+E+80th+St.&2c=Tulsa&2s... 6/19/2009
Jun €asedit®-a@:@Gis-SPBt HobemekKnS444 ,File@dte tec ND/O@Ksor?6e/30480 Page 46 of 4%- te

EXHIBIT “A” J. Patterson

A. DEFINRIONS
1. The word “documeni(s)” includes ail “writings,” “recordings,” and
“ohotographs,” as those terms are defined in Rule 1001 of the Federal Rules of
Evidence, and shoutd be construed in the broadest sense permissible. Accordingly,
“document({s)"includes, butis not limited to, all written, printed, recorded or graphic
_ matter, photographic matter, sound reproductions, or other retrievable data
(whether recorded, taped, or coded electrostatically, electromagnetically,
optically or otherwise on hard drive, diskette, compact disk. primary or backup
tape, audio tape or video tape) from whatever source derived and however and
by whomever prepared, produced, reproduced, disseminated or made. Without
limiting the generality of the foregoing, "document(s)" includes the original and any
non-identical copy and also every craft and proposed draft of all correspondence,
internal memoranda, notes of meetings, telegrams, telexes, facsimiles, electronic
mail, reports, transcripts or notes of telephone conversations, diaries, notebooks,
minutes, notes, tests, reports, analyses, studies, testimony, speeches, worksheets,
maps, charts, diagrams, computer printouts, and any other writings or documentary
materials of any nature whatsoever, whether or not divulged to other parties,
together with any attachments thereto and enclosures therewith. In addition, the
word "Document(s)” encompasses all forms and manifestations of electronically

or optically coded, stored, and/or retrievable information, including bui not limited
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to “email,” “voice mail,” digital images and graphics, digital or analog audiotapes
and files, and digital or analog videotapes and files.

9. The words “you,” “your” or “Plaintiffs” refer to Plaintiffs, and their agents.
representatives, attorneys, experts, and all other persons acting or purporting to act
on behalf of Plainiifis.

3. The singular of each word shall be construed to include its plural and vice
versa, and the root word and all derivations f{ie., “ing,” “ed,” etc.) shall be
construed to include each other.

4, The words “and” as well as "or" shall be construed both conjunciively as
well as disjunciively.

5. The word “each” shall be construed to include “every” and vice versa.

6. The word “any” shall be construed to include “all” and vice versa.

7. The present tense shall be construed to include the past tense and vice
versa.

8. The masculine shall be construed to include the feminine and vice versa.

9. The words “knowledge,” “information,” “possession,” “custody.” and
“controt” of a person shall be construed to. include such person’s agents,
representatives, and aitorneys.

10. The werd “including” shall have its ordinary meaning and shall mean

“including but not limited to” and shall not indicate limitation to the examples or

iiems mentioned.
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B. PRODUCTION OF DOCUMENTS

Melody Nelson told Chief Judge Eagan that you were interviewed by Tim
Arsenault on May 3, 2004 and that you provided specific and detailed information
conceming meetings between you and Oscar Stilley and Lindsey Springer along
with specific information regarding financial by you to both Oscar Stilley and
Lindsey Springer.

1. Please bring with you any documents, including contracts and canceled
checks, that establish when you hired Attorney Steven Knorr and William Widell.

2. Please bring with you all proof that you have waived your atlomey client
privilege regarding your representation by Jerold Barringer between March 1, 2000
and May 3, 2004.

3. Please bring with you any promises, in writing or otherwise, made to you
by the United States, directly or indirectly, or through your attomeys, Steven Knorr
or Mr. Willian Widell, between December 15, 2003 and July 2, 2009, which speak
about the sentencing reduction you were to receive in exchange for your
tastimony, including any deal you made with the United States involving your
husband, Eddy Patterson, and his decision not to appeal the violations of Sixth
Amendment Fact finding by the Chief Judge In its determination of a sentence
involving you or Eddy Paitersion.

4. Please bring copies of all Tax Retums for years 1993 through 2009 filed by

you with the Internal Revenue Service related to your earning of income, including
Jun &asedc@i-a:Gihis-SPBt bpbemes#hoe ,Fil@dtiathetyC ND/@K&orv6e@/30080 Page 49 of 4%. 15

Social Security incame.
5. Please bring any document which could explain to the Court how much

of any fine cr restitution you have paid since your conviction date of December 15,
